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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION

 GENERAL MOTORS LLC, and,                                  Case No. 22-50034
 GENERAL MOTORS COMPANY,
                                                               George Caram Steeh
                 Plaintiffs,                                   U.S. District Judge
 v.
                                                               David R. Grand
 JOSEPH ASHTON,                                                U.S. Magistrate Judge

                 Defendant.                                    Arising from General Motors LLC
                                                               et al. v. Ashton, No. 20-cv-12659
                                                               (D.N.J.)
 __________________________________/

             ORDER ON GENERAL MOTORS’ EXPEDITED MOTION TO
            ENFORCE THE COURT’S APRIL 28, 2022 ORDER REQUIRING
            FULL COMPLIANCE WITH GENERAL MOTORS’ SUBPOENA
                    TO ALPHONS IACOBELLI (ECF No. 31)

 Background

          On June 1, 2022, the Court issued an Order on the motion which was the initiating

 document in this case – Susan Iacobelli’s motion to quash a subpoena duces tecum served

 on her by General Motors LLC and General Motors Company (collectively, “GM”) in

 connection with the case of General Motors LLC, et al. v. Ashton, No. 20-12659, which is

 pending the District of New Jersey (the “New Jersey Action”). (ECF No. 28). The Court

 hereby incorporates the “Background” section of that Order herein by reference.

          On April 28, 2022, the Court heard oral argument on a somewhat-related motion –

 GM’s motion to enforce a November 19, 2021 subpoena duces tecum1 that it served on Ms.



 1
     The subpoena is found at ECF No. 19-2 (the “Subpoena”).
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 Iacobelli’s husband, Alphons Iacobelli (“Iacobelli”). (ECF Nos. 17, 23). At the conclusion

 of the hearing on that motion, the Court made the following text entry:

               For the detailed reasons stated on the record, IT IS ORDERED that the
               motion is GRANTED to the extent discussed, and that Mr. Iacobelli
               shall ensure that a reasonable, good-faith search is performed for
               responsive materials, and that such non-privileged materials are
               produced within 30 days.2

 (4/28/22 text entry) (the “Order”).

        No objections were filed to the Court’s Order. However, on July 11, 2022, GM

 filed its “Expedited Motion to Enforce the [Order] Requiring Full Compliance with GM’s

 Subpoena to Alphons Iacobelli.” (ECF No. 31). In its motion, GM challenged Iacobelli’s

 compliance with the Order with respect to the ESI review of his electronic devices and

 iCloud storage, and the production of numerous categories of documents, including: (1)

 the “DeLorenzo documents”; (2) Iacobelli’s personal e-mails; (3) domestic bank records;

 (4) foreign bank records; (5) documents sufficient to identify Iacobelli’s electronic devices;

 (6) “government investigation material”; and (7) Business Advisory Group documents,

 Iacobelli’s passport, and certain USB drives. The motion was fully briefed (ECF Nos. 33,

 35), and the Court held oral argument on September 20, 2022. The Court addressed the

 disputed issues and instructed the parties to submit a stipulated order for entry by the Court.

 (ECF No. 42).

        Unfortunately, the parties were unable to agree on the terms of a stipulated order.

 On September 28, 2022, GM’s counsel submitted to the Court via e-mail (cc’d to


 2
   The Court held in abeyance its ruling as to a dispute over the common interest privilege, which
 it later resolved in Iacobelli’s favor. (ECF No. 30).
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 Iacobelli’s counsel) its proposed order on the underlying motion, along with a letter (and

 attachments) addressing the parties’ “major differences.”3         On September 30, 2022,

 Iacobelli filed his “Response and Objections” to GM’s submission, and GM filed a reply

 on October 5, 2022. (ECF Nos. 43, 45). With the benefit of the parties’ additional

 submissions, the Court enters this Order to formally resolve GM’s motion.

 Foreign Bank Accounts

        GM alleges that as part of the underlying fraudulent scheme, foreign bank accounts

 were utilized to funnel money to Iacobelli or for his benefit. Iacobelli asserts that he has

 no knowledge of any foreign bank accounts whatsoever, and therefore has no information

 or documents to produce responsive to GM’s request. However, GM has identified

 particular foreign banks at which it claims the accounts in question reside or resided (the

 “Foreign Bank(s)”). At oral argument, the Court suggested Iacobelli sign a simple

 authorization for GM to obtain records from those Foreign Banks as to any accounts in

 Iacobelli’s name (or expressly held for his benefit). Of course, if Iacobelli’s representations

 about there being no such accounts is accurate, these authorizations will be of no moment

 because the banks that receive them will have no responsive documents to produce.

        Iacobelli’s counsel indicated that his concern was that “whatever authorization

 General Motors would proffer would imply that such accounts exist . . .” (ECF No. 40,

 PageID.2946).     Later, he reiterated that this “authorization” approach “may be an

 appropriate or -- depending on the way that the authorization is framed, because I don't


 3
   To ensure a complete record regarding these matters, the Court docketed GM’s letter and
 attachments. (ECF No. 44).
                                               3
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 want to imply that any such account exists, but in the nature of a quitclaim authorization

 [as the Court had previously characterized it], for lack of a better description, that is

 something that I would seriously discuss with Mr. Iacobelli. Because I agree with Your

 Honor. We have taken a very clear position, and I'm not concerned about it, that no such

 accounts exist.” (Id., PageID.2947).

        In GM’s September 28, 2022 letter, it addressed the foreign bank authorization

 dispute, and attached a draft letter, in the following form, that Iacobelli offered to send to

 each of the Foreign Banks identified by GM:

               Dear [Bank]:

               I have, pursuant to the ___, 2022 Order of the United States District
               Court for the Eastern District of Michigan in the above-referenced
               matter, been ordered to request from you any documents you may have
               that evidence the establishment and/or maintenance in [my name] or [in
               the name of _______] of one or more account(s) with your bank. If any
               such account(s) exist or previously existed, I request that you
               immediately provide to me (a) all of the documents, if any, that may
               have been executed and/or provided to you in connection with the
               establishment of any such account(s); (b) all communications between
               the bank and any person, firm and/or entity with respect to the
               account(s); (c) all statements issued with respect to the account(s); and
               if not included in the statements, (d) all documents that evidence any
               deposits into and/or withdrawals into and/or from such accounts,
               including but not limited to wire transfer, SWIFT and/or ACH activity.

               This request is made solely to comply with the Court’s Order and
               is not intended and should not be interpreted and/or construed as a
               representation by me, or to infer or imply, that any such account(s)
               exist. Since I am unaware of any such account(s) and disclaim any
               connection to any such account(s), to the extent your review
               confirms that there are no accounts in my name with your bank, I
               would similarly appreciate written confirmation of that fact.

               ***


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 (ECF No. 44, PageID.3000) (bolding added, see infra at 10).

        GM objects to Iacobelli’s proposed letter, asserting that it “will effectively ensure

 that the banks ignore [his] request for bank information. For example, Switzerland has a

 blocking statute that prevents the gathering of evidence through an ‘official act’ from a

 ‘foreign authority’ on Swiss soil. Art. 271, Swiss Criminal Code. When provided to a

 Swiss bank, Iacobelli’s letter likely will be read as an official act (‘I have…been ordered

 to request from you’) from a ‘foreign authority’ (United States District Court), and

 therefore will be rejected.” (Id., PageID.2997). GM also contends that “the Iacobelli letter

 further signals to the bank that Mr. Iacobelli is requesting his accounts against his will (e.g.,

 ‘I am unaware of any such accounts,’ I am under ‘court order’) and likely will again elicit

 a nonresponsive answer.” (Id.).

        Instead of Iacobelli’s proposed letter, or a generic authorization signed by Iacobelli

 which simply authorizes each of the Foreign Banks to produce to GM records for any bank

 accounts in his name or held for his benefit, GM suggests Iacobelli be ordered to sign a

 “power of attorney consent form” (the “POA Form”) that has been approved by its Swiss

 counsel. (Id.; id., PageID.3002). GM’s proposed POA Form provides:

               I, Alphons Anthony Iacobelli, born on [DOB], and of 1749 Piccadilly
               Ct., Rochester Hills, MI 48309 hereby grant the attorneys at [LAW
               FIRM], including anyone that any of them may instruct on their behalf,
               (collectively, “My Attorneys-in-fact”) to be and act as my lawful
               attorney-in-fact in respect of any financial account of whatever nature,
               whether presently open or closed, that is or ever was in my name
               (whether jointly or solely); beneficially owned by me (whether jointly
               or solely) and/or, in which I had any financial interest whatsoever;
               where I am or ever was a signatory, authorized user, and/or exercised
               any control over it, including any right to information; is or was held in
               trust for me; for which I am or was a settlor, trustee, or beneficiary;

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              and/or is or ever was otherwise associated with me in any way
              whatsoever (“My Accounts”).

              My Attorneys-in-fact have all the requisite power to obtain all
              information, documents, and records of whatever nature regarding My
              Accounts from [BANK], [BRANCH], and [BANK] is expressly
              ordered and authorized to disclose all information and records to My
              Attorneys-in-fact regarding My Accounts. Furthermore, [BANK] is
              ordered and authorized to declare to My Attorneys-in-fact that it does
              not hold, and never has held, any of My Accounts if that is, in fact, the
              case.

              This Power of Attorney extends to the release of information,
              documents, and records only regarding My Accounts. It does not
              authorize My Attorneys-in-fact to conduct any financial transactions
              whatsoever in respect of My Accounts.

              ______________________
              Alphons Anthony Iacobelli

 (Id., PageID.3002).

       In addition to asking that the Court order Iacobelli to sign its proposed POA Form,

 GM asks the Court to order that:

              No one on behalf of Iacobelli (including but not limited to Iacobelli, his
              counsel, or representative) shall contact any foreign financial institution
              with respect to any financial account that Iacobelli may or may not have
              at any foreign financial institution. If contacted by a foreign financial
              institution, Iacobelli, through his counsel, shall promptly alert GM’s
              counsel to the nature of any such communication, including providing
              a copy of any such written communication and a summary of any verbal
              communication. After informing GM of such communication, Iacobelli
              shall further inform any foreign financial institution that contacts him
              (making GM aware of such communication) that he affirmatively and
              fully consents to the release of any financial records that involve an
              account in his name, Business Advisory Group, or any related entity or
              person over which he exercises control, and further affirm for the
              foreign financial institution that the Consent(s) are authentic and should
              be faithfully accepted and adhered to. Iacobelli is further restrained
              from making any communication inconsistent with the foregoing to
              such foreign financial institution. The signed Consent(s) shall not be

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               deemed an admission by Iacobelli that any such records exist, that he
               ever held an account with the financial institution in question, or
               constitute a waiver of his Fifth Amendment right to not testify about the
               existence of such an account.

 (Id., PageID.3010).

        In response, Iacobelli asserts that GM, through its proposed POA Form and court

 order, “seeks to perpetuate a fraud upon one or more [of the Foreign Banks], by presenting

 the request for information as if such request(s) had no relationship whatsoever to this

 Action, the underlying subpoena duces tecum, and any Order that this Court may enter;

 and (b) seeks an injunction against Mr. Iacobelli.” (Id., PageID.2980). More specifically,

 Iacobelli argues:

               Incredibly, GM rejected [his proposed letter to the Foreign Banks] and
               instead has demanded that Mr. Iacobelli participate in defrauding, or at
               a minimum materially misleading, one or more foreign banks, by
               concealing from the banks that the information is sought pursuant to an
               Order of this Court (assuming entry of such an Order) in enforcement
               of a subpoena duces tecum (a further Order of this Court), and
               misrepresent that the information is being voluntarily requested without
               reference to any ongoing court proceedings. GM claims that this
               fraudulent scheme is necessary because one or more banks will refuse
               to provide the information sought if advised that it is sought pursuant to
               a Court Order.

               In furtherance of this improper if not unlawful scheme suggested by
               GM, in which Mr. Iacobelli will not participate, GM improvidently
               seeks the entry of this Court’s Order compelling Mr. Iacobelli to
               provide not the “consent” originally sought by GM but instead a “power
               of attorney,” together with the entry of an injunction to ensure that the
               fraud GM seeks to perpetrate remains concealed. The injunctive relief
               sought by GM (in the absence of any showing remotely approaching
               satisfaction of Rule 65), as noted above includes the proposed
               prohibition that “[n]o one on behalf of Iacobelli (including but not
               limited to Iacobelli, his counsel or representative” may contact any
               foreign financial institution with respect to any financial account that
               Iacobelli may or may not have at any foreign financial institution”

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               (despite GM claiming that they are Mr. Iacobelli’s accounts). As if that
               were not enough, GMs’ proposed Order seeks to require Mr. Iacobelli,
               in the event that one or more of the foreign banks contact him, to further
               defraud the banks by (a) omitting reference to the subpoena duces
               tecum and this Court’s Order, and instead representing (or limiting such
               representation to the statement) “that he affirmatively and fully
               consents to the release of any financial records that involve an account
               in his name, Business Advisory Group, or any related entity or person
               over which he exercises control,” and (b) “further affirm for the
               financial institution that the Consent(s) are authentic and should be
               faithfully accepted and adhered to.” To ensure that the subpoena duces
               tecum and this Court’s Order are not disclosed (despite being material
               facts), GM seeks injunctive relief providing that “Iacobelli is further
               restrained from making any communication inconsistent with the
               foregoing to such foreign financial institutions.”

               Mr. Iacobelli objects to GMs’ proposed Order and will not participate
               in defrauding and/or misleading any financial institution (foreign or
               domestic), by an affirmative misstatement or the omission of a material
               fact (the subpoena duces tecum and this Court’s Order, if any), giving
               rise to his request for information, or any request that GM is permitted
               to make in his name.

 (Id., PageID.2985-86).

        Neither side’s proposal is particularly satisfying. On the one hand, as a subpoenaed

 third-party, Iacobelli has an obligation under Federal Rule of Civil Procedure 45 to make

 a good-faith effort to obtain responsive, non-privileged documents that are within his

 possession, custody, or control, which would include any documents held by Foreign

 Banks in accounts in his name or for his benefit. In general, that would certainly entail a

 simple letter from Iacobelli to each of the Foreign Banks in which he requests copies of

 salient records, which records he would then produce to GM. Iacobelli’s purported fear

 that merely signing an authorization for the release of records would imply that an account

 exists borders on frivolous; an account either exists or does not exist, a fact that will be


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 unchanged by Iacobelli’s signing an authorization. The issue is particularly irrelevant

 considering both the Court and GM have expressly recognized that no such implication

 would arise from Iacobelli’s mere signing of a generic authorization. (ECF No. 44,

 PageID.3010). And, most importantly, Iacobelli cannot manufacture an “out” to producing

 documents by forcing the Court to order him to do that which he is required to do. See

 infra at 10.

        On the other hand, to the extent any Foreign Bank would, under its country’s laws,

 refuse to produce such records merely because it knew the request was being made in

 conjunction with Iacobelli’s response to a federal court subpoena or court order, this Court

 is loath to require Iacobelli to sign the POA Form which omits that information.

        Between the two less-than-perfect proposals, the Court will endorse Iacobelli’s,

 with one important modification. First, GM makes only the aforementioned brief and

 vague reference to the Swiss “blocking statute,” and provides no meaningful evidence or

 analysis confirming that Iacobelli’s letter will be construed as an “official act” or result in

 a Swiss bank’s refusal to produce documents or information. Second, many of the Foreign

 Banks at issue are located in countries outside of Switzerland, including Italy,

 Liechtenstein, Singapore, and the Cayman Islands (ECF No. 31-7, PageID.1585), and GM

 provided no information that any of those countries have “blocking statutes” like the Swiss

 one, or would otherwise refuse to produce documents in response to Iacobelli’s proposed

 letter. Third, if a Foreign Bank would refuse to honor the requests in Iacobelli’s letter

 simply because the letter advises it is being sent in conjunction with a U.S. District Court

 subpoena and pursuant to a court order, that is an issue for GM to raise with that Foreign

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 Bank or with a court with jurisdiction over it, and it would be inappropriate for this Court

 to order execution of a document designed to circumvent that situation even if it would

 give “the best chance of eliciting any response from a Swiss bank.” (ECF No. 45,

 PageID.3017) (emphasis in original).4

        However, the Court finds that it is appropriate to require Iacobelli to modify the

 bolded paragraph of his proposed letter, see supra at 4, so that it reads as follows:

                Although this request is being made in compliance with the Court’s
                Order and is not intended and should not be interpreted and/or
                construed as a representation by me, or to infer or imply, that any such
                account(s) exist, this request is specifically intended to apply to the
                laws of any country other than the United States which restricts or
                prohibits the disclosure of bank information without the consent of the
                holder of the account, and shall be construed as my consent with
                respect thereto.

        The Court notes that virtually the same verbiage was approved in the Schroeder

 case, 2006 WL 3114275, at *6 n.1, and including this verbiage properly balances the salient

 interests. First, it recognizes Iacobelli’s obligation under Rule 45 to make a good faith

 effort to obtain responsive records, and does not allow him to manufacture an “out” by

 forcing the Court to order him to do that which he is required to do under Rule 45. Second,



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   In support of its position, GM cites to Commodity Futures Trading Comm'n v. Schroeder, No.
 CIV.A. 1:06CV0705, 2006 WL 3114275, at *6 (W.D. Mich. Oct. 6, 2006), asserting that the court
 in that case “order[ed] party to sign consent allowing plaintiff to seek foreign bank information.”
 (ECF No. 35, PageID.2076). But GM’s reliance on this case is largely misplaced. First, although
 the cited document was a court order, it made clear that the parties had agreed to the consent
 document, whereas here Iacobelli and GM disagree as to the proper approach. Second –
 presumably because of the parties’ agreement – the order contains no analysis that would bear on
 resolving the dispute here. Third, the stipulated “consent” form, which was attached to the order,
 specifically references the fact that the information was being sought in connection with federal
 court litigation, which is one of the disclosures Iacobelli proposes including in his draft letter.
 Schroeder, at *6 n.1.
                                                 10
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 it respects GM’s rights to seek and obtain relevant and important discovery. Third, it

 respects any obligations the Foreign Banks may have under foreign law by ensuring that

 they are not making decisions about producing documents based on undisclosed

 information. Again, if knowing all of the facts, a Foreign Bank believes that producing the

 requested bank records would violate foreign law, that is an issue GM will need to take up

 with the Foreign Bank in the appropriate forum.

       Accordingly, IT IS ORDERED that within one week, Iacobelli shall issue his

 proposed letter (ECF No. 44, PageID.3000), with the aforementioned modification, to each

 of the Foreign Banks. Within one week of his receipt of any requested documents, Iacobelli

 shall produce a copy of same to GM.

 Iacobelli Phone Held by the Government

       In its September 28, 2022 letter, GM asserts, “In response to a Touhy request, the

 federal government has informed us that they are holding a phone belonging to Mr.

 Iacobelli. Mr. Nedelman denies the government is holding such a phone.” (ECF No. 44,

 PageID.2998). GM suggests including the following provision in its proposed order:

              Within seven days of the entry of this Order, Iacobelli shall jointly
              request with GM the return of any phone belonging to Iacobelli the
              government possesses. If returned, Iacobelli shall promptly preserve all
              contents of the phone through imaging of the device. After such
              imaging is complete, Iacobelli shall search the phone and his other
              electronic devices for all responsive documents and produce all
              documents not otherwise privileged. Any document or information
              Iacobelli claims is privileged must be put in an appropriate privilege
              log.

 (Id., PageID.3008).

       In his response, Mr. Iacobelli objects, arguing:

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               . . . Mr. Iacobelli is not aware of any phone that was seized by and
               remains in the possession of the United States. GM has, through the
               issuance of a Touhy request and attendant subpoena duces tecum,
               already sought from the United States the production of that phone, if it
               exists; the United States has responded to the Touhy request, without
               producing the phone - leading to the inescapable conclusion that either
               (a) the alleged phone doesn’t exist, or (b) if it exists, it will not be
               released by the United States. The failure and/or refusal of the United
               States to release to GM any such phone clearly evidences that any
               phone, if it exists, is not in the possession, custody and/or control of Mr.
               Iacobelli and, as a result, he has no duty or obligation to affirmatively
               seek its turnover to Mr. Iacobelli. In short, Mr. Iacobelli should not be
               compelled to accompany GM on its scavenger hunt for recovery of a
               phone of which Mr. Iacobelli is unaware and that the United States has
               in response to a subpoena duces tecum and Touhy request refused to
               produce (if it exists).

               In addition, GM assumes, in its proposed Order, that any phone that
               may exist and may ultimately be returned to Mr. Iacobelli is his phone.
               Certainly, if a third party’s phone was intentionally or inadvertently
               swept up in connection with the execution of a search warrant, Mr.
               Iacobelli cannot agree and cannot be compelled to image that phone or
               conduct any review for ESI.

 (ECF No. 43, PageID.2981-82) (emphasis in original).

        Iacobelli’s arguments lack merit. Under GM’s proposed verbiage, Iacobelli would

 merely be joining in a request to produce to him any phone “belonging to [him] the

 government possesses,” and GM specifically represents that that the government has

 informed it that it is holding such a phone. Thus, Iacobelli’s concern about requesting a

 non-existent phone, or being returned a phone that belongs to someone else is unfounded.

 And, to the extent the government may be unwilling to comply with Iacobelli’s request for

 its return, that is not a reason to relieve Iacobelli of his obligation under Rule 45 to simply




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 request its return. Finally, if any returned phone truly is not Iacobelli’s, it won’t have

 documents responsive to GM’s subpoena, and thus any burden would be minimal.

       Accordingly, IT IS ORDERED that within one week, Iacobelli shall jointly request

 with GM the return of any phone belonging to Iacobelli the government possesses. If

 returned, Iacobelli shall promptly preserve all contents of the phone through imaging of

 the device. After such imaging is complete, Iacobelli shall search the phone for all

 documents responsive to GM’s subpoena and produce all non-privileged documents.

 Iacobelli shall include on a privilege log any responsive documents withheld on the

 grounds of privilege.

 Search Terms

       The last of the parties’ “major differences” relates to “search terms.” (ECF No. 44,

 PageID.2997). In its September 28, 2022 letter, GM explained the issue as follows:

              Iacobelli’s counsel, Mr. [Michael A.] Nedelman[,] has asked if GM
              proposes the use of search terms. We asked Mr. Nedelman to identify
              the communication devices that need to be searched, when those
              devices were put into service, and the amount of data at issue. Without
              this information, GM has no idea if search terms are appropriate. Mr.
              Nedelman has not responded to this attempt to meet and confer as of
              the submission of this letter.

 (Id., PageID.2998).

       Iacobelli responded, arguing that he proposed “that GM provide [him] suggested

 additional search terms for use in the Wayne County Action,” and that GM’s claimed

 “need[] to know the ‘type of devices’ held by Mr. Iacobelli in order to suggest search

 terms[] [is] a non-sensical demand that itself illustrates the ongoing difficulty that Mr.

 Iacobelli has experienced in attempting to reach agreement with GM on any reasonable

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 approach to resolving the ongoing discovery disputes in this matter.” (ECF No. 43,

 PageID.2981). However, in its supplemental filing, GM did not offer any explanation as

 to why it needs Mr. Iacobelli to identify the details of his communication devices in order

 for GM to be able to propose search terms. (ECF No. 44, PageID.3013-14). Having failed

 to do so, and given its assertion that it “has no idea if search terms are appropriate,” the

 Court will not order any relief as to “search terms.” Accordingly, IT IS ORDERED that

 to the extent GM seeks an order compelling Iacobelli to utilize any particular search terms

 in searching for responsive documents, the motion is DENIED.5

 Other Issues with Respect to GM’s Subpoena to Iacobelli

        Subject to the foregoing limitations and obligations, the Court ORDERS as follows

 as to GM’s instant motion to compel:

      Within fourteen days of the entry of this Order, Iacobelli shall conduct a thorough
       search of all electronic devices and other sources of information in his possession,
       custody, and/or control for documents responsive to GM’s Subpoena. Iacobelli’s
       search obligations shall extend to any information that is (i) in his immediate
       possession, custody, and/or control, i.e., that information that is not in the custody
       of a third-party, such as a bank, an accountant, etc.;6 (ii) available from individuals
       or entities subject to his control; and/or (iii) available from a third party upon his
       demand.7 This aspect of this Order pertains to Iacobelli’s domestic bank accounts,

 5
   The Court notes that this ruling applies only with respect to GM’s instant motion, and has no
 bearing on the appropriateness of the use of search terms in GM’s other litigation against Iacobelli.
 Nor is it likely that Iacobelli could reasonably fulfill his obligations under Rule 45 without himself
 utilizing search terms to search for responsive documents. Accordingly, while the Court is denying
 this aspect of GM’s motion, it may behoove the parties to promptly agree on search terms.
 6
  Iacobelli complains that the Subpoena “apparently seeks to compel [him] to embark on discovery
 efforts well beyond those imposed upon him by Rule 45; for what is ‘immediate?’” (ECF No. 43,
 PageID.2982). The concept, however, is hardly difficult to understand.
 7
   By way of example, as the Court explained during the hearing, if Iacobelli lacks immediate access
 to records sufficient to identify any safe deposit box, he must request same from the bank, i.e., the
 entity that does have immediate access. (ECF No. 42, PageID.2966-67) (“In order to comply with
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        as the discoverability of those account records does not raise the issues at stake with
        respect to Iacobelli’s foreign bank accounts. See supra at 3-11. Iacobelli’s search
        efforts and production obligations shall not be limited by his written objections to
        the Subpoena (which are boilerplate and fail to identify any actual undue burden),
        except those predicated on the attorney-client privilege, work product doctrine, or
        the Fifth Amendment.

      Within fourteen days of the entry of this Order, Iacobelli shall provide to GM a
       signed affidavit attesting under oath that he has made a good-faith effort to search
       for documents responsive to the Subpoena and has produced any non-privileged
       such documents to GM. (See ECF No. 42, PageID.2970). To the extent any
       required search was not made or any responsive document not produced on the
       ground of privilege, Iacobelli shall provide an appropriate privilege log.

      Within seven days of the entry of this Order, Iacobelli shall contact all of his former
       internet service providers, including, but not limited to, Wide Open West, that may
       possess email correspondence responsive to the Subpoena.8 Iacobelli shall utilize
       the form letter he provided in Exhibit 2 to his September 30, 2022 response. (ECF
       No. 43, PageID.2992). The communications to the service provider(s) shall request
       access to any email account(s) registered (or previously registered) under Iacobelli’s
       name.       For clarity, this obligation includes, but is not limited to,
       “al.iacobelli@wowway.com” and “theiacobellis@wowway.com”. Iacobelli shall,
       in good faith, follow any directions given to him by his former internet service
       providers to gain access to his prior e-mail accounts. Within 14 days of Iacobelli
       gaining access to any such account, he shall search for and produce to GM any non-
       privileged e-mails that are responsive to the Subpoena. Within that same timeframe,
       Iacobelli shall provide GM with a privilege log of any e-mails withheld on the
       ground of privilege.

 Conclusion

        For the reasons stated above, IT IS ORDERED that GM’s Expedited Motion to

 Enforce the Court’s April 28, 2022 Order Requiring Full Compliance with General Motors’




 the subpoena, [Iacobelli] has to request that of the bank. If he does not do that, then I imagine
 General Motors will file a motion to hold him in contempt . . .”).
 8
   It appears from GM’s latest filing that Iacobelli has already sent the communication ordered
 herein to his prior internet service providers. (ECF No. 45, PageID.3016). This Order does not
 require Iacobelli to re-send any such communication.
                                                15
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 Subpoena to Alphons Iacobelli (ECF No. 31) is GRANTED IN PART AND DENIED

 IN PART as set forth above.

       IT IS SO ORDERED.


 Dated: October 11, 2022                          s/David R. Grand
 Ann Arbor, Michigan                              DAVID R. GRAND
                                                  United States Magistrate Judge


             NOTICE TO THE PARTIES REGARDING OBJECTIONS

        The parties’ attention is drawn to Fed. R. Civ. P. 72(a), which provides a period of
 fourteen (14) days from the date of receipt of a copy of this order within which to file
 objections for consideration by the district judge under 28 U.S. C. §636(b)(1).



                             CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served upon counsel of
 record and any unrepresented parties via the Court’s ECF System to their respective email
 or First Class U.S. mail addresses disclosed on the Notice of Electronic Filing on October
 11, 2022.

                                                  s/Michael E.Lang
                                                  MICHAEL E. LANG
                                                  Case Manager




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